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    Exhibit A
                                                                                                           ( )
Case 3:23-cv-01304-BAJ-EWD                            Document 138-1                          10/21/24 Precipitation
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                                                 Temperature (ºF)                            Pressure
                                                                            Wind Heat                                (in)
            Time Wind Vis.             Sky                         Relative
       Date                   Weather                     6 hour            Chill Index             sea
            (cdt) (mph) (mi.)         Cond.                        Humidity
                                                Air Dwpt                    (°F)   (°F) altimeter level         1    3      6
                                                         Max. Min.                          (in)                hr   hr     hr
                                                                                                   (mb)
       19     06:35   W5   10.00 Fair   CLR 52.7 45.5                      77%                   30.34    0.0
       19     06:15   W3   10.00 Fair   CLR 52.9 45.7                      77%                   30.34    0.0
       19     05:55 NW 5 10.00 Fair     CLR 53.2 46.6                      78%                   30.34    0.0
       19     05:35   W5   10.00 Fair   CLR 53.6 47.7                      80%                   30.33    0.0
       19     05:15 NW 5 10.00 Fair     CLR 53.4 48.4                      83%                   30.33    0.0
       19     04:55   W3   10.00 Fair   CLR 52.7 49.1                      88%                   30.32    0.0

       19     04:35 NW 3 10.00 Fair     CLR 53.1 49.6                      88%                   30.32    0.0
       19     04:15   W3   10.00 Fair   CLR 53.2 50.2                      89%                   30.31    0.0
       19     03:55   W3   10.00 Fair   CLR 53.6 50.9                      91%                   30.32    0.0
       19     03:35   W3   10.00 Fair   CLR 52.9 50.9                      93%                   30.32    0.0
       19     03:15   W3   10.00 Fair   CLR 53.6 51.6                      93%                   30.33    0.0
       19     02:55 Calm 10.00 Fair     CLR 53.2 51.3                      93%                   30.33    0.0

       19     02:35 NW 5 10.00 Fair     CLR 54.9 52.7                      92%                   30.33    0.0

       19     02:15 Calm 10.00 Fair     CLR 54.9 52.3                      91%                   30.33    0.0
       19     01:55   W3   10.00 Fair   CLR 55.6 52.7                      90%                   30.33    0.0
       19     01:35 Calm 10.00 Fair     CLR     55   52                    90%                   30.33    0.0
       19     01:15 Calm 10.00 Fair     CLR 54.9 51.3                      88%                   30.33    0.0
       19     00:55 NW 3 10.00 Fair     CLR 54.9 50.9 65.1 52.7            87%                   30.34    0.0
       19     00:35 Calm 10.00 Fair     CLR 55.6 51.4                      86%                   30.35    0.0

       19     00:15 Calm 10.00 Fair     CLR 54.7 50.9                      87%                   30.35    0.0

       18     23:55   W3   10.00 Fair   CLR 53.8 49.6                      86%                   30.35    0.0
       18     23:35   W3   10.00 Fair   CLR 52.9 49.5                      88%                   30.35    0.0
       18     23:15 Calm 10.00 Fair     CLR 53.2 49.1                      86%                   30.35    0.0
       18     22:55 Calm 10.00 Fair     CLR 53.2 49.5                      87%                   30.35    0.0
       18     22:35 Calm 10.00 Fair     CLR 53.8     50                    87%                   30.35    0.0

       18     22:15 Calm 10.00 Fair     CLR 55.2     50                    83%                   30.34    0.0
       18     21:55 Calm 10.00 Fair     CLR 55.2     50                    83%                   30.34    0.0

       18     21:35 Calm 10.00 Fair     CLR 56.5 50.9                      82%                   30.34    0.0
       18     21:15 Calm 10.00 Fair     CLR 57.6 50.5                      78%                   30.33    0.0
       18     20:55 Calm 10.00 Fair     CLR 57.6     50                    76%                   30.33    0.0
       18     20:35 Calm 10.00 Fair     CLR 58.6 49.3                      71%                   30.33    0.0
       18     20:15 Calm 10.00 Fair     CLR 59.9 49.1                      68%                   30.32    0.0

       18     19:55 Calm 10.00 Fair     CLR 59.4 48.6                      68%                   30.31    0.0
       18     19:35 Calm 10.00 Fair     CLR 59.7 48.7                      67%                   30.31    0.0
       18     19:15 Calm 10.00 Fair     CLR 62.4     48                    59%                    30.3    0.0

       18     18:55 Calm 10.00 Fair     CLR 65.3     48      75   65.3     54%                    30.3    0.0
       18     18:35 Calm 10.00 Fair     CLR 67.6 46.9                      48%                   30.29    0.0
       18     18:15 Calm 10.00 Fair     CLR 69.6 45.5                      42%                   30.29    0.0

       18     17:55 Calm 10.00 Fair     CLR 71.6 45.1                      39%                   30.29    0.0
       18     17:35 SW 6 10.00 Fair     CLR     73   45.5                  37%                   30.29    0.0
       18     17:15   W6   10.00 Fair   CLR 73.4 44.6                      36%                   30.29    0.0
       18     16:55   W6   10.00 Fair   CLR 74.3 45.7                      36%                   30.29    0.0

       18     16:35 SW 7 10.00 Fair     CLR 73.4 45.1                      37%                   30.29    0.0
       18     16:15 SW 8 10.00 Fair     CLR 74.7 45.5                      35%                   30.29    0.0
       18     15:55 Calm 10.00 Fair     CLR 74.1 45.5                      36%                   30.29    0.0

       18     15:35   W5   10.00 Fair   CLR 73.6 44.8                      36%                   30.29    0.0
       18     15:15 SW 5 10.00 Fair     CLR 74.3     45                    35%                   30.29    0.0
       18     14:55 SW 7 10.00 Fair     CLR 74.8 46.8                      37%                   30.29    0.0
       18     14:35   W3   10.00 Fair   CLR 74.5 46.4                      37%                   30.29    0.0

       18     14:15   W6   10.00 Fair   CLR 74.3 46.6                      37%                    30.3    0.0
       18     13:55 SW 6 10.00 Fair     CLR 73.4 47.1                      39%                   30.31    0.0

       18     13:35 SW 5 10.00 Fair     CLR 73.6 46.6                      38%                   30.31    0.0
       18     13:15 SW 5 10.00 Fair     CLR 72.5 45.9                      39%                   30.32    0.0

                                                            Max. Min.                                     sea
                                                                                              altimeter         1   3     6
                                                Air Dwpt                          Wind Heat              level
              Time Wind Vis.             Sky                 6 hour      Relative                 (in)         hr hr hr
       Date                     Weather                                           Chill Index            (mb)
              (cdt) (mph) (mi.)         Cond.                            Humidity
                                                                                  (°F)   (°F)                  Precipitation
                                                 Temperature (ºF)                                  Pressure
                                                                                                                   (in)
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                                 Weather observations for the past three days for
                           New Roads False River Regional Airport
                                                                                                                Imperial (Metric)

                                                                                                        Precipitation
                                                    Temperature (ºF)                        Pressure
                                                                              Wind Heat                     (in)
              Time Wind Vis.               Sky                       Relative
       Date                     Weather                                       Chill Index          sea
              (cdt) (mph) (mi.)           Cond.             6 hour   Humidity
                                                  Air Dwpt                    (°F) (°F) altimeter level 1 3 6
                                                                                            (in)        hr hr hr
                                                           Max. Min.                              (mb)

       18     13:55 SW 6 10.00 Fair       CLR     73.4 47.1                    39%                   30.31    0.0
       18     13:35 SW 5 10.00 Fair       CLR     73.6 46.6                    38%                   30.31    0.0

       18     13:15 SW 5 10.00 Fair       CLR     72.5 45.9                    39%                   30.32    0.0

       18     12:55   W6   10.00 Fair     CLR     71.4 44.4 72.9 42.1          38%                   30.33    0.0

       18     12:35 W 12 10.00 Fair       CLR     72.1 44.6                    37%                   30.33    0.0

       18     12:15   W7   10.00 Fair     CLR     72     44.1                  37%                   30.34    0.0

       18     11:55 SW 9 10.00 Fair       CLR     71.1 43.2                    37%                   30.35    0.0

       18     11:35   W7   10.00 Fair     CLR     69.8 40.5                    35%                   30.35    0.0

       18     11:15 W 10 10.00 Fair       CLR     70.2 40.6                    34%                   30.36    0.0
       18     10:55 W 13 10.00 Fair       CLR     68.4 39.9                    36%                   30.36    0.0

       18     10:35 W 10 10.00 Fair       CLR     67.3 39.9                    37%                   30.36    0.0

       18     10:15 W 10 10.00 Fair       CLR     64.8 39.7                    40%                   30.36    0.0
       18     09:55 W 10 10.00 Fair       CLR     63.7 40.1                    42%                   30.36    0.0

       18     09:35   W6   10.00 Fair     CLR     61.3 41.7                    49%                   30.36    0.0

       18     09:15   W3   10.00 Fair     CLR     57.9 42.1                    56%                   30.36    0.0

       18     08:55   W8   10.00 Fair     CLR     55.4 40.6                    58%                   30.35    0.0

       18     08:35 Calm 10.00 Fair       CLR     51.6 41.4                    68%                   30.35    0.0

       18     08:15 Calm 10.00 Fair       CLR     48.4 40.3                    74%                   30.34    0.0

       18     07:55   W3   10.00 Fair     CLR     45.7 38.8                    77%                   30.33    0.0

       18     07:35 Calm 10.00 Fair       CLR     42.6 38.7                    86%                   30.33    0.0
       18     07:15 Calm 10.00 Fair       CLR     43.5 38.5                    82%                   30.32    0.0

       18     06:55 Calm 10.00 Fair       CLR     43.9 39.2      46   40.3     84%                   30.31    0.0

       18     06:35 Calm 10.00 Fair       CLR     42.8 38.3                    84%                   30.3     0.0

       18     06:15 Calm 10.00 Fair       CLR     41.9 37.9                    86%                   30.3     0.0

       18     05:55   W3   10.00 Fair     CLR     41     37.6                  88%                   30.29    0.0

       18     05:35 Calm 10.00 Fair       CLR     41.5   37                    84%                   30.29    0.0

       18     05:15 Calm 10.00 Fair       CLR     43     38.3                  84%                   30.28    0.0

       18     04:55 Calm 10.00 Fair       CLR     43.5 38.7                    83%                   30.27    0.0

       18     04:35 Calm 10.00 Fair       CLR     45     39.2                  80%                   30.26    0.0
       18     04:15 Calm 10.00 Fair       CLR     45.1 39.4                    80%                   30.26    0.0

       18     03:55 Calm 10.00 Fair       CLR     45     40.3                  84%                   30.26    0.0

       18     03:35 Calm 10.00 Fair       CLR     43     41.4                  94%                   30.27    0.0

       18     03:15   W3   10.00 Fair     CLR     40.5 39.2                    95%                   30.27    0.0

       18     02:55 Calm   7.00 Fair      CLR     42.1 40.6                    95%                   30.28    0.0

       18     02:35 Calm 10.00 Fair       CLR     42.4 40.5                    93%                   30.28    0.0

       18     02:15 Calm 10.00 Fair       CLR     43.7 41.9                    93%                   30.28    0.0

       18     01:55 Calm 10.00 Fair       CLR     43.2 41.2                    93%                   30.28    0.0

       18     01:35 Calm 10.00 Fair       CLR     44.6 42.1                    91%                   30.28    0.0
       18     01:15 Calm 10.00 Fair       CLR     43.2   41                    92%                   30.28    0.0

       18     00:55 Calm 10.00 Fair       CLR     44.4 41.9 62.6 44.1          91%                   30.28    0.0

       18     00:35 Calm 10.00 Fair       CLR     44.2 41.2                    89%                   30.28    0.0

       18     00:15 Calm 10.00 Fair       CLR     45.1 41.2                    86%                   30.28    0.0

       17     23:55 Calm 10.00 Fair       CLR     46.6 41.7                    83%                   30.28    0.0

       17     23:35 Calm 10.00 Fair       CLR     46.2 41.4                    83%                   30.27    0.0

       17     23:15 Calm 10.00 Fair       CLR     46.8 41.5                    82%                   30.28    0.0

                                                                Max. Min.                                    sea
                                                                                                  altimeter        1 3 6
                                                  Air Dwpt                            Wind Heat             level
              Time Wind Vis.               Sky                               Relative                 (in)        hr hr hr
                                                                 6 hour                                     (mb)
       Date                     Weather                                               Chill Index
              (cdt) (mph) (mi.)           Cond.                              Humidity
                                                                                      (°F) (°F)                   Precipitation
                                                    Temperature (ºF)                                  Pressure
                                                                                                                      (in)
                                                                                                               VOTE000756
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                                                    Temperature (ºF)                        Pressure
                                                                              Wind Heat                    (in)
            Time Wind Vis.                 Sky                       Relative
       Date                   Weather                       6 hour            Chill Index          sea
            (cdt) (mph) (mi.)             Cond.                      Humidity
                                                  Air Dwpt                    (°F) (°F) altimeter level 1 3 6
                                                                                            (in)        hr hr hr
                                                           Max. Min.                              (mb)
       17     22:55 Calm 10.00 Fair       CLR     47.3   41              79%                  30.27    0.0

       17     22:35 Calm 10.00 Fair       CLR     48.7 41.5              76%                  30.28    0.0

       17     22:15 Calm 10.00 Fair       CLR     48.4 42.4              80%                  30.27    0.0

       17     21:55 Calm 10.00 Fair       CLR     48.9 42.1              77%                  30.27    0.0

       17     21:35 Calm 10.00 Fair       CLR     48     41.5            78%                  30.27    0.0

       17     21:15 Calm 10.00 Fair       CLR     51.1   41              69%                  30.26    0.0

       17     20:55 Calm 10.00 Fair       CLR     52.9 41.2              65%                  30.26    0.0

       17     20:35 Calm 10.00 Fair       CLR     52.5 40.8              65%                  30.26    0.0

       17     20:15 Calm 10.00 Fair       CLR     54     40.1            60%                  30.25    0.0
       17     19:55 Calm 10.00 Fair       CLR     54     39.4            58%                  30.24    0.0

       17     19:35 Calm 10.00 Fair       CLR     56.8 39.4              52%                  30.23    0.0

       17     19:15 Calm 10.00 Fair       CLR     60.6 38.3              44%                  30.23    0.0

       17     18:55 Calm 10.00 Fair       CLR     62.1 36.1 71.4 62.1    38%                  30.23    0.0

       17     18:35 Calm 10.00 Fair       CLR     65.3 34.7              32%                  30.23    0.0

       17     18:15   W3   10.00 Fair     CLR     67.3 34.5              30%                  30.23    0.0

       17     17:55   W5   10.00 Fair     CLR     68.9 33.8              27%                  30.23    0.0

       17     17:35 SW 3 10.00 Fair       CLR     69.6 33.3              26%                  30.23    0.0
       17     17:15   W5   10.00 Fair     CLR     70.3 33.3              25%                  30.23    0.0

       17     16:55 NW 3 10.00 Fair       CLR     70.9 34.5              26%                  30.23    0.0

       17     16:15   N7   10.00 Fair     CLR     70.7 34.2              26%                  30.23    0.0

       17     15:55 SW 5 10.00 Fair       CLR     70.9 34.2              26%                  30.23    0.0

       17     15:35 NW 3 10.00 Fair       CLR     70.3 33.8              26%                  30.24    0.0

       17     15:15   W7   10.00 Fair     CLR     70.2 33.6              26%                  30.25    0.0

       17     14:55 SW 6 10.00 Fair       CLR     70.5   34              26%                  30.25    0.0

       17     14:35 NW 5 10.00 Fair       CLR     70     34.9            28%                  30.26    0.0

       17     14:15   W6   10.00 Fair     CLR     69.8 33.4              26%                  30.27    0.0

       17     13:55 NW 6 10.00 Fair       CLR     68.7 34.2              28%                  30.27    0.0

       17     13:35   N7   10.00 Fair     CLR     67.8 33.6              28%                  30.28    0.0

       17     13:15 NW 8 10.00 Fair       CLR     68.2 34.2              28%                   30.3    0.0
       17     12:55 SW 6 10.00 Fair       CLR     66.9 34.2 67.3   45    30%                  30.31    0.0

       17     12:35 SW 5 10.00 Fair       CLR     66.2   34              30%                  30.32    0.0

       17     12:15 NW 9 10.00 Fair       CLR     66.4 35.1              31%                  30.33    0.0

       17     11:55 W 10 10.00 Fair       CLR     65.7 35.2              32%                  30.33    0.0

       17     11:35 SW 8 10.00 Fair       CLR     64.4 35.1              34%                  30.34    0.0

       17     11:15 W 12 10.00 Fair       CLR     63.9 34.7              34%                  30.35    0.0

       17     10:55    SW 10.00 Fair      CLR     62.8 34.5              35%                  30.35    0.0
                      13 G
                       17
       17     10:35   W7   10.00 Fair     CLR     62.1 35.8              38%                  30.35    0.0

       17     10:15 W 12 10.00 Fair       CLR     60.4 36.1              40%                  30.35    0.0

       17     09:55 W 10 10.00 Fair       CLR     58.3 36.1              44%                  30.35    0.0

       17     09:35   W9   10.00 Fair     CLR     56.5 36.3              47%                  30.35    0.0

       17     09:15 W 10 10.00 Fair       CLR     54.5 35.8              49%                  30.35    0.0

       17     08:55   W8   10.00 Fair     CLR     53.2 36.3              53%                  30.34    0.0

       17     08:35   W7   10.00 Fair     CLR     51.3 37.4              59%                  30.33    0.0

       17     08:15   W6   10.00 Fair     CLR     49.3 37.4              64%      47          30.33    0.0

       17     07:55   W5   10.00 Fair     CLR     47.3 37.2              68%      46          30.33    0.0
       17     07:35   W3   10.00 Fair     CLR     45.3   36              70%                  30.32    0.0

       17     07:15   W3   10.00 Fair     CLR     45.1 35.6              69%                  30.32    0.0

       17     06:55 Calm 10.00 Fair       CLR     45.7 35.8 48.7 42.8    68%                  30.31    0.0

       17     06:35 NW 5 10.00 Fair       CLR     46.2   36              68%      45          30.31    0.0

       17     06:15   W3   10.00 Fair     CLR     46     36              68%                   30.3    0.0

       17     05:55 NW 3 10.00 Fair       CLR     46     35.8            68%                   30.3    0.0

                                                            Max. Min.                                 sea
                                                                                           altimeter        1 3 6
                                                  Air Dwpt                     Wind Heat             level
              Time Wind Vis.               Sky                        Relative                 (in)        hr hr hr
                                                              6 hour                                 (mb)
       Date                     Weather                                        Chill Index
              (cdt) (mph) (mi.)           Cond.                       Humidity
                                                                               (°F) (°F)                   Precipitation
                                                    Temperature (ºF)                           Pressure
                                                                                                        VOTE000757
                                                                                                               (in)
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                                                  Temperature (ºF)                        Pressure
                                                                            Wind Heat                    (in)
            Time Wind Vis.               Sky                       Relative
       Date                   Weather                     6 hour            Chill Index          sea
            (cdt) (mph) (mi.)           Cond.                      Humidity
                                                Air Dwpt                    (°F) (°F) altimeter level 1 3 6
                                                                                          (in)        hr hr hr
                                                         Max. Min.                              (mb)

       17   05:35   W5   10.00 Fair     CLR     46.6 35.6                   66%      45             30.3    0.0
       17   05:15 NW 5 10.00 Fair       CLR     46.6 35.6                   66%      45            30.29    0.0

       17   04:55 NW 5 10.00 Fair       CLR     46.8 35.6                   65%      45            30.29    0.0

       17   04:35   W5   10.00 Fair     CLR     46.8 35.6                   65%      45            30.29    0.0

       17   04:15   W6   10.00 Fair     CLR     47.5   36                   64%      45            30.29    0.0

       17   03:55 Calm 10.00 Fair       CLR     47.5 36.5                   66%                    30.29    0.0

       17   03:35   W3   10.00 Fair     CLR     45.7 36.5                   70%                     30.3    0.0

       17   03:15 NW 6 10.00 Fair       CLR     43.9 36.1                   74%      41             30.3    0.0

       17   02:55 NW 3 10.00 Fair       CLR     43     36.1                 77%                    30.31    0.0
       17   02:35 NW 3 10.00 Fair       CLR     45.7 36.1                   69%                    30.31    0.0

       17   02:15 Calm 10.00 Fair       CLR     45.5 35.8                   69%                    30.31    0.0

       17   01:55 Calm 10.00 Fair       CLR     47.3 37.4                   69%                    30.31    0.0

       17   01:35   N5   10.00 Fair     CLR     45     35.8                 70%      43            30.31    0.0

       17   01:15 Calm 10.00 Fair       CLR     46.8 36.5                   68%                    30.31    0.0

       17   00:55 Calm 10.00 Fair       CLR     48.9   37      59   47.3    64%                    30.31    0.0

       17   00:35 Calm 10.00 Fair       CLR     48.9 36.9                   63%                    30.31    0.0

       17   00:15 Calm 10.00 Fair       CLR     48.6   37                   65%                    30.31    0.0

       16   23:55 Calm 10.00 Fair       CLR     49.6 36.7                   61%                    30.31    0.0
       16   23:35 Calm 10.00 Fair       CLR     49.1 36.7                   62%                    30.31    0.0

       16   23:15 Calm 10.00 Fair       CLR     50.4 37.8                   62%                    30.31    0.0

       16   22:35   N6   10.00 Fair     CLR     51.4 37.2                   58%                    30.31    0.0

       16   22:15 NW 6 10.00 Fair       CLR     49.8 37.2                   62%      48            30.31    0.0

       16   21:55   N7   10.00 Fair     CLR     50     37.6                 63%      48            30.31    0.0

       16   21:35   N7   10.00 Fair     CLR     50.9 37.8                   61%                    30.31    0.0

       16   21:15   N8   10.00 Fair     CLR     52.2 38.5                   60%                     30.3    0.0

       16   20:55   N8   10.00 Fair     CLR     51.8 38.3                   60%                     30.3    0.0

       16   20:35   N8   10.00 Fair     CLR     52.3 38.3                   59%                     30.3    0.0

       16   20:15   N8   10.00 Fair     CLR     53.8   37                   53%                    30.29    0.0

       16   19:55   N6   10.00 Fair     CLR     55.9 36.1                   48%                    30.29    0.0
       16   19:35   N8   10.00 Fair     CLR     57.4   36                   45%                    30.28    0.0

       16   19:15   N6   10.00 Fair     CLR     58.8 35.2                   41%                    30.28    0.0

       16   18:55   N7   10.00 Fair     CLR     59.4 34.2 70.5 59.4         39%                    30.27    0.0

       16   18:35   N7   10.00 Fair     CLR     60.6 32.9                   35%                    30.27    0.0

       16   18:15   N8   10.00 Fair     CLR     63.9 32.7                   31%                    30.26    0.0

       16   17:55   N9   10.00 Fair     CLR     66.2   32                   28%                    30.26    0.0

       16   17:35   N9   10.00 Fair     CLR     67.5 31.1                   26%                    30.26    0.0

       16   17:15 N 12 10.00 Fair       CLR     68.4 30.4                   24%                    30.25    0.0

       16   16:55   N7   10.00 Fair     CLR     68.9 30.6                   24%                    30.25    0.0

       16   16:35   N8   10.00 Fair     CLR     69.3 30.2                   23%                    30.26    0.0
       16   16:15 NW 9 10.00 Fair       CLR     69.4 28.4                   22%                    30.26    0.0
                  G 17

       16   15:55 N 12 10.00 Fair       CLR     69.8 29.3                   22%                    30.26    0.0
                  G 18

       16   15:35 N 8 G 10.00 Fair      CLR     70.2 29.3                   22%                    30.26    0.0
                   18

       16   15:15 N 14 10.00 Fair       CLR     70     28.8                 22%                    30.27    0.0

       16   14:55 N 12 10.00 Fair       CLR     69.6 28.4                   21%                    30.28    0.0
                  G 17

       16   14:35 N 14 10.00 Fair       CLR     69.1 27.9                   21%                    30.28    0.0
                  G 20

       16   14:15 N 12 10.00 Fair       CLR     68.9 29.5                   23%                    30.29    0.0

       16   13:55 N 15 10.00 Fair       CLR     67.6 30.7                   25%                     30.3    0.0
                  G 21

                                                              Max. Min.                                      sea
                                                                                                  altimeter       1    3    6
                                                Air Dwpt                            Wind Heat               level
            Time Wind Vis.               Sky                               Relative                   (in)        hr   hr   hr
                                                               6 hour                                       (mb)
       Date                   Weather                                               Chill Index
            (cdt) (mph) (mi.)           Cond.                              Humidity
                                                                                    (°F) (°F)                     Precipitation
                                                  Temperature (ºF)                                  Pressure
                                                                                                                      (in)


                                                                                                               VOTE000758
Case 3:23-cv-01304-BAJ-EWD                              Document 138-1                       10/21/24 Precipitation
                                                                                                         Page 6 of 12
                                                   Temperature (ºF)                        Pressure
                                                                             Wind Heat                    (in)
            Time Wind Vis.                Sky                       Relative
       Date                   Weather                      6 hour            Chill Index          sea
            (cdt) (mph) (mi.)            Cond.                      Humidity
                                                 Air Dwpt                    (°F) (°F) altimeter level 1 3 6
                                                                                           (in)        hr hr hr
                                                          Max. Min.                              (mb)
       16   13:35   NW     5.00 Partly   SCT019 67.6 30.2                   25%                    30.31    0.0
                    13 G        Cloudy   SCT030
                     22         with     SCT040
                                Haze

       16   13:15   NW     10.00 Fair     CLR    67.1   28                  23%                    30.32    0.0
                    12

       16   12:35   NW 10.00 Fair         CLR    65.3 29.3                  26%                    30.34    0.0
                    13 G
                     18
       16   12:15   NW 10.00 Fair         CLR    65.3 30.4                  27%                    30.35    0.0
                    13 G
                     20

       16   11:55   NW 10.00 Fair         CLR    64.2 30.9                  29%                    30.36    0.0
                    12 G
                     18

       16   11:35   NW 10.00 Fair         CLR    62.4 31.8                  32%                    30.36    0.0
                    14 G
                     22

       16   11:15   NW 10.00 Fair         CLR    61.2 31.8                  33%                    30.37    0.0
                    12 G
                     20

       16   10:55   NW 10.00 Fair         CLR    60.1   32                  35%                    30.37    0.0
                    15 G
                     21

       16   10:35   NW 10.00 Fair         CLR    59.4 31.6                  35%                    30.37    0.0
                    14 G
                     23

       16   10:15   NW 10.00 Fair         CLR    58.3 31.8                  37%                    30.37    0.0
                    13 G
                     17

       16   09:55   NW 10.00 Fair         CLR    57.6 32.2                  38%                    30.36    0.0
                    15 G
                     21

       16   09:35   NW 10.00 Fair         CLR    55.9   32                  40%                    30.36    0.0
                    16 G
                     24

       16   09:15   NW 10.00 Fair         CLR    54.7   32                  42%                    30.36    0.0
                    16 G
                     22

       16   08:55   NW     10.00 Fair     CLR    54.1 32.7                  44%                    30.35    0.0
                    14

       16   08:35   NW 10.00 Fair         CLR    53.1 32.5                  46%                    30.34    0.0
                    16 G
                     23

       16   08:15   NW 10.00 Fair         CLR    52     32.9                48%                    30.33    0.0
                    14 G
                     18

       16   07:55   NW     10.00 Fair     CLR    51.4 32.9                  49%                    30.33    0.0
                    10

       16   07:35   NW 10.00 Fair         CLR    51.1 33.1                  50%                    30.32    0.0
                    14 G
                     20

       16   07:15   NW     10.00 Fair     CLR    51.3 33.6                  51%                    30.31    0.0
                    14

       16   06:55   NW     10.00 Fair     CLR    51.4   34     63.7 51.3    51%                     30.3    0.0
                    12

       16   06:35   NW 10.00 Fair         CLR    52.3 34.2                  50%                    30.29    0.0
                    13 G
                     20

       16   06:15   NW 10.00 Fair         CLR    52.7 35.2                  52%                    30.28    0.0
                    12 G
                     16

       16   05:55   NW 10.00 Fair         CLR    54     35.8                50%                    30.27    0.0
                    13 G
                     18

                                                               Max. Min.                                     sea
                                                                                                  altimeter       1    3    6
                                                 Air Dwpt                           Wind Heat               level
            Time Wind Vis.                Sky                              Relative                   (in)        hr   hr   hr
       Date                   Weather                           6 hour              Chill Index             (mb)
            (cdt) (mph) (mi.)            Cond.                             Humidity
                                                                                    (°F) (°F)                     Precipitation
                                                   Temperature (ºF)                                 Pressure
                                                                                                               VOTE000759
                                                                                                                      (in)
Case 3:23-cv-01304-BAJ-EWD                               Document 138-1                        10/21/24 Precipitation
                                                                                                           Page 7 of 12
                                                    Temperature (ºF)                        Pressure
                                                                              Wind Heat                    (in)
            Time Wind Vis.                 Sky                       Relative
       Date                   Weather                       6 hour            Chill Index          sea
            (cdt) (mph) (mi.)             Cond.                      Humidity
                                                  Air Dwpt                    (°F) (°F) altimeter level 1 3 6
                                                                                            (in)        hr hr hr
                                                           Max. Min.                              (mb)

       16     09:55   NW 10.00 Fair       CLR     57.6 32.2                   38%                   30.36    0.0
                      15 G
                       21

       16     09:35   NW 10.00 Fair       CLR     55.9   32                   40%                   30.36    0.0
                      16 G
                       24

       16     09:15   NW 10.00 Fair       CLR     54.7   32                   42%                   30.36    0.0
                      16 G
                       22

       16     08:55   NW   10.00 Fair     CLR     54.1 32.7                   44%                   30.35    0.0
                      14

       16     08:35   NW 10.00 Fair       CLR     53.1 32.5                   46%                   30.34    0.0
                      16 G
                       23

       16     08:15   NW 10.00 Fair       CLR     52     32.9                 48%                   30.33    0.0
                      14 G
                       18

       16     07:55   NW   10.00 Fair     CLR     51.4 32.9                   49%                   30.33    0.0
                      10
       16     07:35   NW 10.00 Fair       CLR     51.1 33.1                   50%                   30.32    0.0
                      14 G
                       20

       16     07:15   NW   10.00 Fair     CLR     51.3 33.6                   51%                   30.31    0.0
                      14

       16     06:55   NW   10.00 Fair     CLR     51.4   34     63.7 51.3     51%                   30.3     0.0
                      12

       16     06:35   NW 10.00 Fair       CLR     52.3 34.2                   50%                   30.29    0.0
                      13 G
                       20
       16     06:15   NW 10.00 Fair       CLR     52.7 35.2                   52%                   30.28    0.0
                      12 G
                       16

       16     05:55   NW 10.00 Fair       CLR     54     35.8                 50%                   30.27    0.0
                      13 G
                       18

       16     05:35   NW 10.00 Fair       CLR     55     37.8                 52%                   30.26    0.0
                      15 G
                       18
       16     05:15   NW 10.00 Fair       CLR     55.8 39.7                   55%                   30.25    0.0
                      14 G
                       22

       16     04:55 N 13 10.00 Fair       CLR     56.1 42.3                   60%                   30.25    0.0
                    G 18

       16     04:35   NW 10.00 Fair       CLR     56.8 42.8                   60%                   30.24    0.0
                      14 G
                       20

       16     04:15   NW 10.00 Fair       CLR     58.3 42.8                   57%                   30.23    0.0
                      13 G
                       21

       16     03:55   NW 10.00 Fair       CLR     59.2 43.2                   56%                   30.23    0.0
                      15 G
                       24

       16     03:35   NW 10.00 Fair       CLR     59     43.3                 56%                   30.22    0.0
                      12 G
                       21

       16     03:15   NW 10.00 Fair       CLR     59.2 43.2                   56%                   30.22    0.0
                      10 G
                       16
       16     02:55 NW 9 10.00 Fair       CLR     59.7   43                   54%                   30.21    0.0
                    G 16

       16     02:35 N 10 10.00 Fair       CLR     60.1 42.8                   53%                   30.21    0.0

       16     02:15   N8   10.00 Fair     CLR     60.8 42.3                   51%                   30.2     0.0

                                                                Max. Min.                                   sea
                                                                                                 altimeter        1 3 6
                                                  Air Dwpt                           Wind Heat             level
              Time Wind Vis.               Sky                              Relative                 (in)        hr hr hr
                                                                 6 hour                                    (mb)
       Date                     Weather                                              Chill Index
              (cdt) (mph) (mi.)           Cond.                             Humidity
                                                                                     (°F) (°F)                   Precipitation
                                                    Temperature (ºF)                                 Pressure
                                                                                                                     (in)


                                                                                                              VOTE000752
Case 3:23-cv-01304-BAJ-EWD                             Document 138-1                       10/21/24 Precipitation
                                                                                                        Page 8 of 12
                                                  Temperature (ºF)                        Pressure
                                                                            Wind Heat                    (in)
            Time Wind Vis.               Sky                       Relative
       Date                   Weather                     6 hour            Chill Index          sea
            (cdt) (mph) (mi.)           Cond.                      Humidity
                                                Air Dwpt                    (°F) (°F) altimeter level 1 3 6
                                                                                          (in)        hr hr hr
                                                         Max. Min.                              (mb)
       16   01:55   NW 10.00 Fair        CLR    62.4 42.1                  48%                     30.2    0.0
                    16 G
                     22

       16   01:35 NW 9 10.00 Fair        CLR    62.4 42.3                  48%                    30.19    0.0

       16   01:15   NW 10.00 Fair        CLR    63.3 42.3                  46%                    30.19    0.0
                    12 G
                     18

       16   00:55   NW 10.00 Fair        CLR    63.5 42.6 75.7 63.5        47%                    30.18    0.0
                    10 G
                     18

       16   00:35   NW   10.00 Fair      CLR    64.6 42.6                  45%                    30.17    0.0
                    10

       16   00:15   NW 10.00 Fair        CLR    65.1 43.2                  45%                    30.16    0.0
                    13 G
                     16

       15   23:55   NW 10.00 Fair        CLR    65.5 43.7                  45%                    30.15    0.0
                    13 G
                     18

       15   23:35   NW   10.00 Fair      CLR    66.6 43.9                  44%                    30.15    0.0
                    12

       15   23:15   NW   10.00 Fair      CLR    66.2 44.6                  46%                    30.14    0.0
                    12

       15   22:55   NW   10.00 Fair      CLR    67.1   45                  45%                    30.12    0.0
                    10

       15   22:35   NW   10.00 Fair      CLR    67.8 45.5                  45%                    30.11    0.0
                    10
       15   22:15 NW 9 10.00 Fair        CLR    68.4 45.7                  44%                     30.1    0.0

       15   21:55 NW 8 10.00 Fair        CLR    68.9 46.9                  46%                    30.09    0.0
       15   21:35 NW 9 10.00 Fair        CLR    69.6 49.5                  49%                    30.08    0.0

       15   21:15   NW   10.00 Fair      CLR    70.3 51.4                  51%                    30.06    0.0
                    13

       15   20:55 N 10 10.00 Fair        CLR    70.5 53.8                  56%                    30.05    0.0

       15   20:35   NW   7.00 Fair       CLR    70.7   55                  58%                    30.04    0.0
                    10

       15   20:15   N9   10.00 Fair      CLR    70.9 58.5                  65%                    30.03    0.0

       15   19:55   N9   10.00 Fair      CLR    70.2 59.9                  70%                    30.02    0.0

       15   19:35   N8   10.00 Fair      CLR    72     60.6                68%                    30.01    0.0

       15   19:15   N8   10.00 Fair      CLR    72.1   61                  68%                     30      0.0
       15   18:55   N6   10.00 Fair      CLR    75.7 60.4 84.4 75.7        59%            78      29.98    0.0

       15   18:35   N6   10.00 Fair      CLR    77.2 60.8                  57%            79      29.98    0.0

       15   18:15   N5   10.00 Fair      CLR    79     61.3                55%            80      29.97    0.0

       15   17:55   N6   10.00 Fair      CLR    80.4 62.1                  54%            82      29.97    0.0

       15   17:35   N7   10.00 Fair      CLR    81.7 62.6                  52%            83      29.96    0.0

       15   17:15   N5   10.00 Fair      CLR    82.6 62.1                  50%            83      29.96    0.0

       15   16:55   N7   10.00 Fair      CLR    83.5 63.5                  51%            85      29.96    0.0

       15   16:35   N7   10.00 Fair      CLR    83.8 63.7                  51%            85      29.96    0.0
       15   16:15 NE 6 10.00 Fair        CLR    84.2   63                  49%            85      29.96    0.0

       15   15:55   N7   10.00 Fair      CLR    84.2 64.6                  52%            86      29.96    0.0

       15   15:35   N8   10.00 Fair      CLR    83.8 65.5                  54%            86      29.96    0.0

       15   15:15 NE 3 10.00 Fair        CLR    84.2 65.8                  54%            86      29.96    0.0

       15   14:55 Calm 10.00 Fair        CLR    84     66.2                55%            86      29.96    0.0

       15   14:35 NE 6 10.00 Fair        CLR    83.3 66.6                  57%            86      29.97    0.0

       15   14:15   N7   10.00 Partly   SCT033 82.9 66.9                   59%            86      29.98    0.0
                               Cloudy

       15   13:55   N6   10.00 Partly   SCT031 81.7 66.9                   61%            84      29.99    0.0
                               Cloudy

       15   13:35   N3   10.00 Partly   SCT029 82.4 67.6                   61%            85       30      0.0
                               Cloudy

                                                              Max. Min.                                     sea
                                                                                                 altimeter       1    3    6
                                                Air Dwpt                           Wind Heat               level
            Time Wind Vis.               Sky                   6 hour     Relative                   (in)        hr   hr   hr
       Date                   Weather                                              Chill Index             (mb)
            (cdt) (mph) (mi.)           Cond.                             Humidity
                                                                                   (°F) (°F)                     Precipitation
                                                  Temperature (ºF)                                 Pressure
                                                                                                                     (in)
                                                                                                              VOTE000753
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                                                  Temperature (ºF)                         Pressure
                                                                             Wind Heat                    (in)
            Time Wind Vis.               Sky                        Relative
       Date                   Weather                      6 hour            Chill Index          sea
            (cdt) (mph) (mi.)           Cond.                       Humidity
                                                 Air Dwpt                    (°F) (°F) altimeter level 1 3 6
                                                                                           (in)        hr hr hr
                                                          Max. Min.                              (mb)

       15   13:15   E6   10.00 Partly   SCT027 81.9 68.2                  63%            85      30.01    0.0
                               Cloudy

       15   12:55 Calm 10.00 Partly     SCT025 80.4 67.6 81.3 64.4        65%            83      30.02    0.0
                             Cloudy

       15   12:35 NE 6 10.00 Partly     SCT021 81.1 68.5                  66%            84      30.03    0.0
                             Cloudy

       15   12:15 NE 7 10.00 Mostly     BKN021 80.4   68                  66%            83      30.04    0.0
                             Cloudy
       15   11:55   E7   10.00 Overcast OVC021   79   67.8                69%            81      30.05    0.0

       15   11:35   E5   10.00 Overcast BKN019 78.4 66.4                  67%            80      30.05    0.0
                                        OVC025

       15   11:15   E3   7.00 Overcast SCT015 77.4 65.7                   67%            79      30.05    0.0
                                       OVC027

       15   10:55 Calm 10.00 Overcast BKN012 74.8 63.7                    68%                    30.06    0.0
                                      OVC029

       15   10:35 Calm 10.00 Overcast SCT014 73.6 62.1                    67%                    30.06    0.0
                                      SCT020
                                      OVC029

       15   10:15 Calm 10.00 Overcast BKN014     72   59.7                66%                    30.06    0.0
                                      OVC020

       15   09:55 Calm 10.00 Overcast BKN014 70.7 58.5                    65%                    30.07    0.0
                                      OVC019

       15   09:35 SW 3 10.00 Overcast OVC016     70   57.4                64%                    30.07    0.0

       15   09:15 Calm 10.00 Overcast OVC018 68.9 55.8                    63%                    30.07    0.0

       15   08:55 Calm 10.00 Mostly     SCT011 67.6   54                  62%                    30.07    0.0
                             Cloudy     BKN020

       15   08:35   W3   10.00 Mostly   SCT011 66.7 53.4                  62%                    30.06    0.0
                               Cloudy   BKN020
       15   08:15   W3   10.00 Overcast OVC020 65.8 52.5                  62%                    30.05    0.0

       15   07:55   W3   10.00 Overcast BKN014 65.3 52.2                  63%                    30.05    0.0
                                        OVC020

       15   07:35 Calm 10.00 Overcast OVC014 65.1 52.2                    63%                    30.05    0.0

       15   07:15 Calm 10.00 Overcast SCT016 64.6 51.1                    62%                    30.05    0.0
                                      OVC023

       15   06:55   W3   10.00 Overcast OVC025 64.4 51.1 66.6 62.6        62%                    30.05    0.0

       15   06:35   W5   10.00 Overcast OVC023 64.4 51.6                  63%                    30.04    0.0
       15   06:15   W3   10.00 Overcast OVC021   64   51.6                64%                    30.05    0.0

       15   05:55 Calm 10.00 Mostly     BKN023 63.3 51.8                  66%                    30.05    0.0
                             Cloudy     BKN028

       15   05:35 Calm 10.00 Partly     SCT042   63   50.4                64%                    30.05    0.0
                             Cloudy

       15   05:15 Calm 10.00 Mostly     BKN042 63.5 51.3                  65%                    30.04    0.0
                             Cloudy     BKN048

       15   04:55 Calm 10.00 Mostly     BKN050 63.9 51.1                  63%                    30.04    0.0
                             Cloudy
       15   04:35 Calm 10.00 Mostly     BKN050 63.7 51.4                  65%                    30.04    0.0
                             Cloudy

       15   04:15   W3   10.00 Mostly   BKN060 63.9 51.8                  65%                    30.04    0.0
                               Cloudy

       15   03:55 Calm 10.00 Mostly     BKN060 64.4 51.8                  64%                    30.05    0.0
                             Cloudy

       15   03:35 Calm 10.00 Mostly     BKN060 64.4   52                  64%                    30.05    0.0
                             Cloudy

       15   03:15 Calm 10.00 Partly     SCT060 64.9 51.8                  63%                    30.05    0.0
                             Cloudy
       15   02:55 Calm 10.00 Mostly     BKN060 64.8 52.7                  65%                    30.06    0.0
                             Cloudy

       15   02:35 Calm 10.00 Mostly     BKN060 64.9 53.6                  67%                    30.06    0.0
                             Cloudy

       15   02:15 Calm 10.00 Mostly     BKN060 63.9 53.8                  70%                    30.07    0.0
                             Cloudy

                                                             Max. Min.                                     sea
                                                                                                altimeter       1    3    6
                                                 Air Dwpt                         Wind Heat               level
            Time Wind Vis.               Sky                             Relative                   (in)        hr   hr   hr
                                                              6 hour                                      (mb)
       Date                   Weather                                             Chill Index
            (cdt) (mph) (mi.)           Cond.                            Humidity
                                                                                  (°F) (°F)
                                                  Temperature (ºF)                                Pressure   VOTE000754
                                                                                                                Precipitation
                                                                                                                    (in)
                                                                                                                        (in)
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                                                                                                                    Precipitation
                                                    Temperature (ºF)                                  Pressure
                                                                              Wind Heat                                 (in)
              Time Wind Vis.               Sky                       Relative
       Date                     Weather                          6 hour       Chill Index          sea
              (cdt) (mph) (mi.)           Cond.                      Humidity
                                                  Air Dwpt                    (°F) (°F) altimeter level 1                3    6
                                                                                            (in)        hr               hr   hr
                                                           Max. Min.                              (mb)
        15    01:55 NW 3 10.00 Partly     SCT060 63.3    55                    75%                   30.07    0.0
                               Cloudy

        15    01:35   N3   10.00 Mostly   SCT032 65.7 54.7                     68%                   30.07    0.0
                                 Cloudy   SCT048
                                          BKN060

        15    01:15 Calm 10.00 Overcast SCT032 66.6 55.4                       67%                   30.08    0.0
                                        OVC048

        15    00:55   N3   10.00 Overcast SCT034 64.4 57.7       77   64.4     79%                   30.08    0.0
                                          OVC046

        15    00:35   N3   10.00 Mostly   BKN036 65.1 55.9                     72%                   30.08    0.0
                                 Cloudy

        15    00:15   N3   10.00 Mostly   SCT040 66.2 55.8                     69%                   30.08    0.0
                                 Cloudy   BKN050

        14    23:55 Calm 10.00 Mostly     SCT042 66.9 55.9                     68%                   30.09    0.0
                               Cloudy     BKN050
                                          BKN065

        14    23:35 Calm 10.00 Overcast BKN044 66.9 55.9                       68%                   30.09    0.0
                                        BKN050
                                        OVC065

        14    23:15 Calm 10.00 Partly     SCT050 67.1 55.4                     66%                     0      0.0
                               Cloudy     SCT065

        14    22:55 NE 3 10.00 Fair        CLR    67.5 55.6                    66%                   30.1     0.0

        14    22:35   N3   10.00 Partly   SCT050 68.4 56.1                     65%                   30.09    0.0
                                 Cloudy

        14    22:15 Calm 10.00 Overcast OVC050 68.5 56.1                       65%                   30.09    0.0
        14    21:55   N3   10.00 Mostly   BKN050 68.7 55.9                     64%                   30.09    0.0
                                 Cloudy

        14    21:35   N5   10.00 Mostly   BKN050 69.3 56.1                     63%                   30.08    0.0
                                 Cloudy
        14    21:15   N6   10.00 Overcast OVC050 71.2 56.5                     60%                   30.08    0.0

        14    20:55   N5   10.00 Overcast OVC050 71.6 57.4                     61%                   30.08    0.0

        14    20:35   N6   10.00 Partly   SCT050 70.7 58.3                     65%                   30.07    0.0
                                 Cloudy

        14    20:15   N7   10.00 Fair      CLR    71.6 59.2                    65%                   30.07    0.0

        14    19:55   N7   10.00 Fair      CLR    73.4 60.1                    63%                   30.07    0.0

        14    19:35 N 12 10.00 Fair        CLR    74.7 62.1                    65%                   30.06    0.0
        14    19:15   N7   10.00 Fair      CLR    76.1 63.9                    66%            78     30.05    0.0

        14    18:55 N 10 10.00 Fair        CLR    77     66.9 85.6    77       71%            79     30.05    0.0
        14    18:35   N5   10.00 Fair      CLR    78.4 67.1                    68%            81     30.04    0.0

        14    18:15 NE 6 10.00 Fair        CLR    79.9 66.6                    64%            82     30.04    0.0

        14    17:55   N7   10.00 Fair      CLR    81.5 66.4                    60%            84     30.04    0.0

        14    17:35 NE 7 10.00 Fair        CLR    83.1 67.1                    59%            86     30.03    0.0

        14    17:15 NE 5 10.00 Fair        CLR    84.2 64.6                    52%            86     30.03    0.0

        14    16:55 NE 6 10.00 Fair        CLR    84.9 64.2                    50%            86     30.03    0.0

        14    16:35 NE 5 10.00 Fair        CLR    85.1 63.3                    48%            86     30.03    0.0
        14    16:15 NE 3 10.00 Fair        CLR    84.9   63                    48%            86     30.04    0.0

        14    15:55   N6   10.00 Fair      CLR    85.3 63.3                    48%            86     30.04    0.0

        14    15:35 NE 5 10.00 Fair        CLR    85.5   63                    47%            86     30.04    0.0
        14    15:15 NE 5 10.00 Fair        CLR    84.9   63                    48%            86     30.05    0.0

        14    14:55   E5   10.00 Fair      CLR    84.2 63.1                    49%            85     30.05    0.0

        14    14:35 NE 7 10.00 Fair        CLR    84     64.6                  52%            86     30.06    0.0

        14    14:15 NE 5 10.00 Fair        CLR    83.5 63.3                    51%            85     30.07    0.0

        14    13:55 NE 3 10.00 Fair        CLR    82.9   66                    57%            85     30.08    0.0

        14    13:35   E3   10.00 Fair      CLR    82     65.5                  57%            84     30.09    0.0

        14    13:15   N3   10.00 Fair      CLR    81.5 66.2                    60%            84     30.1     0.0
        14    12:55   N5   10.00 Fair      CLR    81.3 68.2 81.5 62.8          64%            84     30.11    0.0

                                                                Max. Min.                                    sea
                                                                                                  altimeter        1 3 6
                                                  Air Dwpt                            Wind Heat             level
              Time Wind Vis.               Sky                               Relative                 (in)        hr hr hr
       Date                     Weather                          6 hour               Chill Index           (mb)
              (cdt) (mph) (mi.)           Cond.                              Humidity
                                                                                      (°F) (°F)                   Precipitation
                                                    Temperature (ºF)                                  Pressure
                                                                                                                      (in)


                                                                                                                 VOTE000755
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                                                                                                           Precipitation
                                                      Temperature (ºF)                        Pressure
                                                                                Wind Heat                      (in)
              Time Wind Vis.                 Sky                       Relative
       Date                     Weather                           6 hour        Chill Index          sea
              (cdt) (mph) (mi.)             Cond.                      Humidity
                                                    Air Dwpt                    (°F) (°F) altimeter level 1     3    6
                                                                                              (in)        hr    hr   hr
                                                             Max. Min.                              (mb)

        14    19:15   N7   10.00 Fair       CLR     76.1 63.9               66%        78    30.05   0.0

        14    18:55 N 10 10.00 Fair         CLR     77     66.9 85.6   77   71%        79    30.05   0.0

        14    18:35   N5   10.00 Fair       CLR     78.4 67.1               68%        81    30.04   0.0

        14    18:15 NE 6 10.00 Fair         CLR     79.9 66.6               64%        82    30.04   0.0

        14    17:55   N7   10.00 Fair       CLR     81.5 66.4               60%        84    30.04   0.0
        14    17:35 NE 7 10.00 Fair         CLR     83.1 67.1               59%        86    30.03   0.0

        14    17:15 NE 5 10.00 Fair         CLR     84.2 64.6               52%        86    30.03   0.0
        14    16:55 NE 6 10.00 Fair         CLR     84.9 64.2               50%        86    30.03   0.0

        14    16:35 NE 5 10.00 Fair         CLR     85.1 63.3               48%        86    30.03   0.0

        14    16:15 NE 3 10.00 Fair         CLR     84.9   63               48%        86    30.04   0.0

        14    15:55   N6   10.00 Fair       CLR     85.3 63.3               48%        86    30.04   0.0

        14    15:35 NE 5 10.00 Fair         CLR     85.5   63               47%        86    30.04   0.0

        14    15:15 NE 5 10.00 Fair         CLR     84.9   63               48%        86    30.05   0.0

        14    14:55   E5   10.00 Fair       CLR     84.2 63.1               49%        85    30.05   0.0

        14    14:35 NE 7 10.00 Fair         CLR     84     64.6             52%        86    30.06   0.0

        14    14:15 NE 5 10.00 Fair         CLR     83.5 63.3               51%        85    30.07   0.0

        14    13:55 NE 3 10.00 Fair         CLR     82.9   66               57%        85    30.08   0.0
        14    13:35   E3   10.00 Fair       CLR     82     65.5             57%        84    30.09   0.0

        14    13:15   N3   10.00 Fair       CLR     81.5 66.2               60%        84    30.1    0.0

        14    12:55   N5   10.00 Fair       CLR     81.3 68.2 81.5 62.8     64%        84    30.11   0.0

        14    12:35 NE 3 10.00 Fair         CLR     80.8 67.3               64%        83    30.13   0.0

        14    12:15   E5   10.00 Fair       CLR     79.3 67.8               68%        82    30.14   0.0

        14    11:55 NE 5 10.00 Partly      SCT018   79     68.7             71%        81    30.15   0.0
                               Cloudy

        14    11:35 NE 3 10.00 Mostly      BKN016 76.8 68.4                 75%        78    30.15   0.0
                               Cloudy

        14    11:15 NE 3 10.00 Overcast BKN012 75.9 68.5                    78%        77    30.15   0.0
                                           OVC018
        14    10:55 NE 5 10.00 Overcast OVC012 75.4 69.6                    82%        76    30.15   0.0

        14    10:35 NE 7 10.00 Overcast OVC010 75.2        70               84%        75    30.16   0.0

        14    10:15 NE 9 10.00 Mostly      BKN010 75.9 70.7                 84%        77    30.15   0.0
                               Cloudy

        14    09:55 NE 7 10.00 Partly      SCT006   75     71.6             89%        74    30.15   0.0
                               Cloudy      SCT010

        14    09:35   E6   10.00 Overcast OVC006 72.3 71.1                  96%              30.15   0.0

        14    09:15 NE 5 10.00 Mostly      BKN008 71.1 70.2                 97%              30.15   0.0
                               Cloudy      BKN012
                                           BKN022

        14    08:55 Calm 10.00 Mostly      BKN020 69.8 69.4                 99%              30.15   0.0
                               Cloudy

        14    08:35 Calm 10.00 Overcast SCT013 68.4        68               99%              30.14   0.0
                                        OVC020

        14    08:15 Calm 10.00 Overcast OVC013 67.5 67.1                    99%              30.14   0.0

        14    07:55 Calm   2.50 Fog/Mist OVC013 66.4       66               99%              30.13   0.0

        14    07:35 Calm   0.25 Fog        OVC015 63.5 63.1                 99%              30.13   0.0
        14    07:15 Calm   0.25 Fog        BKN015 64.4 63.9                 98%              30.13   0.0

        14    06:55 Calm   0.25 Fog        BKN003 62.8 62.2 68.5 62.6       98%              30.13   0.0

        14    06:35 Calm   0.25 Fog        BKN003 63.1 62.6                 98%              30.12   0.0

        14    06:15 Calm   0.25 Fog        VV002    63.5   63               98%                0     0.0

        14    05:55 Calm   0.25 Fog        BKN003 64.8 64.4                 99%              30.11   0.0

        14    05:35 Calm   0.25 Fog        VV002    62.8 61.9               97%              30.11   0.0

        14    05:15 Calm 10.00 Fair         CLR     64     63.1             97%              30.1    0.0

        14    04:55 Calm 10.00 Fair         CLR     64.6 63.7               97%              30.1    0.0

        14    04:35 Calm 10.00 Fair         CLR     63.9   63               97%              30.1    0.0

        14    04:15   S5   1.25 Fog/Mist   VV007    65.5 64.6               97%              30.09   0.0
        14    03:55 Calm   0.25 Fog        VV002    65.3 64.4               97%              30.1    0.0

        14    03:35 Calm   1.00 Fog/Mist   VV007    65.3 64.4               97%              30.1    0.0

        14    03:15 Calm 10.00 Fair         CLR     65.8   64               94%              30.1    0.0

        14    02:55 Calm 10.00 Fair         CLR     66.4 64.8               95%              30.1    0.0
                                                                                                         VOTE000748
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                                                                                                                   Precipitation
                                                    Temperature (ºF)                                 Pressure
                                                                              Wind Heat                                (in)
              Time Wind Vis.               Sky                       Relative
       Date                     Weather                          6 hour       Chill Index          sea
              (cdt) (mph) (mi.)           Cond.                      Humidity
                                                  Air Dwpt                    (°F) (°F) altimeter level 1                3    6
                                                                                            (in)        hr               hr   hr
                                                           Max. Min.                              (mb)
        14    02:35 Calm 10.00 Fair       CLR     67.3 65.1                  93%                     30.1    0.0

        14    02:15 Calm 10.00 Fair       CLR     68.2 65.5                  91%                     30.1    0.0

        14    01:55   S3   10.00 Fair     CLR     68.4 65.7                  91%                     30.1    0.0

        14    01:35 Calm 10.00 Fair       CLR     68.4 65.7                  91%                     30.1    0.0

        14    01:15   S3   10.00 Fair     CLR     68.4 65.5                  91%                     30.1    0.0

        14    00:55   S3   10.00 Fair     CLR     68.5 65.5 79.2 68.5        90%                     30.1    0.0

        14    00:35 SE 3 10.00 Fair       CLR     68.9 65.5                  89%                    30.11    0.0

        14    00:15   S3   10.00 Fair     CLR     68.9 65.3                  88%                    30.12    0.0
        13    23:55   S3   10.00 Fair     CLR     69.3 65.3                  87%                    30.12    0.0

        13    23:35   S3   10.00 Fair     CLR     69.8 65.5                  86%                    30.12    0.0

        13    23:15 Calm 10.00 Fair       CLR     70     65.3                85%                    30.12    0.0

        13    22:55 Calm   0.00 NULL      NULL    71.1 65.5                  83%                      0      0.0

        13    22:35 SE 5 10.00 Fair       CLR     71.2 65.3                  82%                    30.12    0.0

        13    22:15   S7   10.00 Fair     CLR     71.4 65.3                  81%                    30.11    0.0

        13    21:55   S6   10.00 Fair     CLR     71.8 64.9                  79%                    30.11    0.0

        13    21:35   S7   10.00 Fair     CLR     72.5 64.8                  77%                     30.1    0.0

        13    21:15   S6   10.00 Fair     CLR     72.7 64.4                  75%                     30.1    0.0

        13    20:55   S6   10.00 Fair     CLR     73.4 64.2                  73%                     30.1    0.0
        13    20:35   S8   10.00 Fair     CLR     74.5   64                  70%                    30.09    0.0

        13    20:15   S8   10.00 Fair     CLR     75.4 63.9                  68%            77      30.08    0.0

        13    19:55   S6   10.00 Fair     CLR     76.1   64                  66%            78      30.08    0.0

        13    19:35   S7   10.00 Fair     CLR     77.2 64.4                  65%            79      30.07    0.0

        13    19:15   S8   10.00 Fair     CLR     78.1 64.4                  63%            80      30.07    0.0

        13    18:55   S8   10.00 Fair     CLR     79.3 63.9 87.3 79.3        59%            81      30.06    0.0

        13    18:35   S9   10.00 Fair     CLR     80.2 62.8                  55%            82      30.05    0.0

        13    18:15   S7   10.00 Fair     CLR     82     62.6                52%            83      30.05    0.0
        13    17:55   S9   10.00 Fair     CLR     83.7   63                  50%            85      30.05    0.0

        13    17:35 SE 7 10.00 Fair       CLR     84.7 63.1                  48%            86      30.05    0.0

        13    17:15 SE 9 10.00 Fair       CLR     85.6   63                  47%            87      30.05    0.0
        13    16:55 SE 9 10.00 Fair       CLR     86.2 62.4                  45%            87      30.05    0.0

        13    16:35 SE 8 10.00 Fair       CLR     86.5 61.9                  44%            87      30.05    0.0

        13    16:15 SE 8 10.00 Fair       CLR     86.4 61.9                  44%            87      30.05    0.0

        13    15:55   SE   10.00 Fair     CLR     87.3   61                  41%            87      30.06    0.0
                      10

        13    15:35 SE 7 10.00 Fair       CLR     86.9 61.2                  42%            87      30.06    0.0

        13    15:15 S 9 G 10.00 Fair      CLR     87.1 62.2                  43%            88      30.06    0.0
                     16

        13    14:55 SE 8 10.00 Fair       CLR     87.1 61.7                  43%            87      30.07    0.0
        13    14:35   SE   10.00 Fair     CLR     86.4 62.6                  45%            87      30.07    0.0
                      10

        13    14:15 SE 7 10.00 Fair       CLR     86.2 61.7                  44%            87      30.09    0.0
                    G 10

                                                                Max. Min.                                     sea
                                                                                                   altimeter       1     3    6
                                                  Air Dwpt                           Wind Heat               level
            Time Wind Vis.                 Sky                              Relative                   (in)        hr    hr   hr
                                                                 6 hour                                      (mb)
       Date                   Weather                                                Chill Index
            (cdt) (mph) (mi.)             Cond.                             Humidity
                                                                                     (°F) (°F)                     Precipitation
                                                    Temperature (ºF)                                 Pressure
                                                                                                                       (in)




                                                                                                                VOTE000749
